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 2                          UNITED STATES DISTRICT COURT

 3                                  DISTRICT OF NEVADA
                                           -oOo-
 4

 5   UNITED STATES OF AMERICA,              )
                                            )   2:10-CR-00216-PMP-LRL
 6                   Plaintiff,             )
                                            )
 7                                          )
     vs.                                    )        ORDER
 8                                          )
     DIMITAR DIMITROV, et al.,              )
 9                                          )
                     Defendants.            )
10                                          )

11         The Court having read and considered Defendant’s Motion for District Judge to

12   Reconsider Order Granting Request for Review of Magistrate Judge Decision as to Pre-

13   Trial Detention (Doc. #61) and the Government’s Response and Opposition Thereto

14   (Doc.#62), and good cause appearing,

15         IT IS ORDERED that Defendant Dimitrov’s Motion for District Judge to

16   Reconsider Order Granting Request for Review of Magistrate Judge Decision as to Pre-

17   Trial Detention (Doc. #61) is DENIED.

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19   DATED: March 8, 2011.

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                                                PHILIP M. PRO
22                                              United States District Judge
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